                               Case 17-24030         Doc 10     Filed 10/23/17      Page 1 of 1

                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF MARYLAND
                                             at Greenbelt
                                      In re:    Case No.: 17−24030 − WIL         Chapter: 7

Natieya Davis
Debtor


                                               DEFICIENCY NOTICE
DOCUMENT:                  3 − Certificate of Credit Counseling on Behalf of Natieya Davis Filed by Natieya Davis .
                           (Hegerle, Robert)

PROBLEM:                   The following items are deficient for the above pleading, and must be cured by 11/6/17.
                           Certificate of Credit Counseling was taken outside of the six (6) month window.

CURE:                      Retake take the Credit Counseling and file an updated Certificate of Credit Counseling.

CONSEQUENCE: Failure to cure the problem(s) by the date above may result in the pleading being stricken or
             other action the Court deems appropriate without further notice. For a proposed order, the failure
             to cure the problem(s) may result in the relief sought being denied for want of prosecution.


Additional information on filing requirements: http://www.mdb.uscourts.gov/content/filing−requirements.
Additional information for non−attorney filers: http://www.mdb.uscourts.gov/content/after−filing.

Dated: 10/23/17
                                                                 Mark A. Neal, Clerk of Court
                                                                 by Deputy Clerk, Robert Hegerle
                                                                 301−344−3399
cc:    Debtor
       Attorney for Debtor − PRO SE

defntc (rev. 12/12/2016)
